                                                      Entered on Docket
                                                      March 29, 2016
                                                      EDWARD J. EMMONS, CLERK
                                                      U.S. BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF CALIFORNIA




 1    DEVIN DERHAM-BURK
      CHAPTER 13 STANDING TRUSTEE                   The following constitutes
 2    P O BOX 50013                                 the order of the court. Signed March 28, 2016
      SAN JOSE, CA 95150-0013
 3
      Telephone: (408) 354-4413
 4    Facsimile: (408) 354-5513                      _________________________________________________
                                                     M. Elaine Hammond
      Trustee for Debtor                             U.S. Bankruptcy Judge
 5

 6

 7
                               UNITED STATES BANKRUPTCY COURT
 8                             NORTHERN DISTRICT OF CALIFORNIA
                                       SAN JOSE DIVISION
 9

10
      In Re:                                          )        Chapter 13
11                                                    )
      DIRK HUGHES-HARTOGS                             )        Case No. 15-51318 MEH
12                                                    )
                                                      )
13                                   Debtor

14
                                              FINAL DECREE
15
      The estate of the above named Debtor has been fully administered.
16

17
      IT IS ORDERED THAT:
18
      DEVIN DERHAM-BURK is discharged as Trustee of the estate of the above named Debtor and
19
      the bond is canceled.
20

21
                                      * * * END OF ORDER * * *
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